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               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17                                    (San Diego)
18
   AL OTRO LADO, Inc., et al.,             Case No. 3:17-cv-02366-BAS-KSC
19
20                        Plaintiffs,      Hon. Cynthia A. Bashant
21                      v.                     Exhibit 20 to Defendants’ Opposition
22                                             to Plaintiffs’ Motion for Class
   Chad F. WOLF, Acting Secretary of           Certification
23
   Homeland Security, et al., in their offi-
24 cial capacities,
25
                              Defendants
26
27
28
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